397 F.2d 375
    UNITED STATES of America, Appellee,v.Charlie Graham GREGORY, Appellant.UNITED STATES of America, Appellee,v.Paul Walter PEARCE, Appellant.
    Nos. 12091, 12092.
    United States Court of Appeals Fourth Circuit.
    Argued May 10, 1968.Decided June 17, 1968,Certiorari Denied Oct. 14, 1968,
    
      Richard G. Brydges, Virginia Beach, Va., (H. Calvin Spain, and Brydges, Broyles &amp; McKenry Virginia Beach, Va., on brief), for appellants.
      James A. Oast, Jr., Asst. U.S. Atty.  (C. V. Spratley, Jr., U.S. Atty., on brief), for appellee.
      Before BOREMAN, BRYAN and BUTZNER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The appellants, Charlie Graham Gregory and Paul Walter Pearce, assign the same trial error in their convictions for removing, concealing and possessing taxunpaid distilled spirits, 26 U.S.C. 5601(a), 5205(a)(2) and 5604(a)(1): that is, the admission in evidence of the whiskey when without a search warrant it had been found and seized in an allegedly illegal search of the pickup truck occupied by the appellants on November 9, 1966 at Chesapeake, Virginia.
    
    
      2
      Aided by his discussion of the circumstances of the search and the law on the subject, we think with the District Judge that there was probable cause for the search, and that the liquor was rightly received as proof of the crime.  With its receipt, there was evidence aplenty to convict and we affirm the judgments of guilt.
    
    
      3
      Affirmed.
    
    